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                     1                                  UNITED STATES DISTRICT COURT

                     2                                 NORTHERN DISTRICT OF CALIFORNIA

                     3

                     4                                                                 4:22-md-03047-YGR
                                                                             Case N o. ------------

                     5   IN RE: SOCIAL MEDIA ADOLESCENT
                                                                             APPLICATION FOR ADMISSION OF
                         ADDICTION/PERSONAL INJURY                           ATTORNEY PRO HAC VICE;
                     6
                         PRODUCTS LIABILITY LITIGATION                       ORDER
                     7                                                       (CIVIL LOCAL RULE 11-3)

                     8

                    9
                    10             Timothy H. Wright
                                I, __________        , an active member in good standing of the bar of

                    11   State of Illinois
                         _____________     , hereby respectfully apply for admission to practice pro hac
                                                                                    Steadfast Insurance Company and

     s
                                                                                   Zurich American Insurance Company
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       12   �            vice in the Northern District of California representing: ____________
                                                                                    James H. Kallianis, Jr.
                         above-entitled action. My local co-counsel in this case is ____________            , an
                                                                                                                    in the

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  rJJ       0
                    14   attorney who is a member of the bar of this Court in good standing and who maintains an office
0 tJ                15                                                                     148801
                         within the State of California. Local co-counsel's bar number is: --------
  rJJ
  II)      ·5....
 d . rJJ            16   500 West Madison Street, Suite 3600                 633 West Fifth Street, 26th Floor
 ..... Q
�sII)       II)
                    17
                         Chicago, IL 60661                                   Los Angeles, CA 90071
  ...c=
.-<;::::                  MY ADDRESS OF RECORD                                LOCAL CO-COUNSEL'S ADDRESS OF RECORD
8 z'g               18   312-946-4200                                        213-721-0650
                          MY TELEPHONE# OF RECORD                             LOCAL CO-COUNSEL'S TELEPHONE# OF RECORD
                    19
                         twright@skarzynski.com                              jkallianis@skarzynski.com
                    20    MY EMAIL ADDRESS OF RECORD                          LOCAL CO-COUNSEL'S EMAIL ADDRESS OF RECORD

                    21

                    22          I am an active member in good standing of a United States Court or of the highest court of
                    23                                                                                    6298003
                         another State or the District of Columbia, as indicated above; my bar number is: _____   _
                    24          A true and correct copy of a certificate of good standing or equivalent official document
                    25   from said bar is attached to this application.
                    26                                                                   2
                                I have been granted pro hac vice admission by the Court ___ times in the 12 months
                    27   preceding this application.
                    28
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                     1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                     2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                     3   Rules. I declare under penalty of perjury that the foregoing is true and correct.
                                 05/07/2025                                             /s/ Timothy H. Wright
                     4   Dated: -------
                                                                                       APPLICANT
                     5

                     6
                     7

                     8                                  ORDER GRANTING APPLICATION

                    9                           FOR ADMISSION OF ATTORNEY PRO HAC VICE

                    10
                    11                                                         Timothy H. Wright
                                  IT IS HEREBY ORDERED THAT the application of _________         is


   · s
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       12   �            granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney

                         must indicate appearance pro hac vice. Service of papers upon, and communication with, local co­
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                         counsel designated in the application will constitute notice to the party.

0 tJ                15   Dated: ----------
                                 May 7, 2025
  rJJ      ·5....
 d . rJJ
  II)

 ..... Q            16
�sII)       II)
                    17                                                   HON. YVONNE GONZALEZ ROGERS
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                                                                    UNITED STATES DISTRICT/MAGISTRATE illDGE
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                         Updated 11/2021                                   2
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                   Certificate of Admission
                    To the Bar of Illinois
 I, Cynthia A. Grant, Clerk of the Supreme Court of Illinois, do hereby certify that


                               Timothy Hamilton Wright


 has been duly licensed and admitted to practice as an Attorney and Counselor at
 Law within this State; has duly taken the required oath to support the
 CONSTITUTION OF THE UNITED STATES and of the STATE OF ILLINOIS, and
 also the oath of office prescribed by law, that said name was entered upon the Roll
 of Attorneys and Counselors in my office on 11/06/2008 and is in good standing, so
 far as the records of this office disclose.



                                         IN WITNESS WHEREOF, I have hereunto
                                               subscribed my name and affixed the
                                               seal of said Court, this 6th day of
                                               February, 2025.

                                                      C�itt ( (qrixJ;-
                                                                                c1erk.
                                                 Supreme Court of the State of Illinois
